Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 1 of 26 PageID #: 8291




                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

SECURITIES AND EXCHANGE COMMISSION                          §
Plaintiff,                                                  §
                                                            §
                                                            §
                                                            §   Civil Action No. 4:11-cv-655
                                                            §
v.                                                          §
                                                            §
JAMES G. TEMME, and                                         §
STEWARDSHIP FUND, LP,
Defendants.

                               RECEIVER’S STATUS REPORT
                                      (June,2016)


        C O M ES N O W ,K eith M . A urz ada as R eceiver (the “Receiver”)for Jam es G . T em m e

(“Temme”),Stewardship Fund,L P,and all other entities directly or indirectly controlled by

Jam es G .T em m e orStewardshipFund,L P,including,butnotlim ited toStewardshipA dvisors,

L L C ,d/b/a Stewardship A dvisors,L P,Stewardship A sset M anagem ent G enpar I,L L C ,

Stewardship G roup,L L C ,D estiny Fund,L P,and Stewardship M anagem ent,L P (collectively,

the “Defendants”)and hereby fileshisR eceiver’s StatusR eport.

                                                I.

                                       BACKGROUND

        1.      O nO ctober 14,2011,the Securities and Exchange C om m issioninstituted the

above-captioned action,alleging thatD efendants used fraudulent,or otherwise unlawful,m eans

toraise atleast$35m illionfrom investors throughthe offering and selling of interests inlim ited

partnershipsand m ortgage notes.

        2.      O nO ctober 14,2011,the R eceiver was appointed as receiver for the D efendants




Receiver’s Status Report                        1
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 2 of 26 PageID #: 8292




throughthe C ourt’s entry of the A greed O rderA ppointing R eceiverO verEntities U nderC ontrol

of Jam es G .T em m e (D k t.N o.24),A greed O rderA ppointing R eceiverO verStewardshipFund,

L P,and R elated Entities (D k t. N o. 25),and O rder A ppointing R eceiver O ver Jam es T em m e

(D k t. N o,30)(“Receiver Orders”). Pursuant to the R eceiver O rders,the R eceiver is to tak e

exclusive custody and control of all assetsand recordsof,ortraceable to,the D efendants.

        3.      A s the R eceiver has conducted his investigation,it has becom e apparent that in

offering and selling interests innotes and lim ited partnerships,the D efendants m ade m ate rial

m isrepresentations to investors regarding the value of the interests,the assets owned or to be

purchased onbehalf of investors,and the expected returns onsuch investm ents. It has also

becom e apparentthatD efendants frequently failed tocom plete basic due diligence and com plete

the necessary paperwork to acquire and sell the interests and notes they purportedly sold to

investors. M oreover,the assets that were allegedly transferred to D efendants (inthe form of

prom issory notes secured by residential real estate)frequently were the subj
                                                                            ect of m unicipal

enforcem entactions and liens forunpaid assessm ents and taxes.Furtherm ore,the R eceivertook

possessionof m any check sfrom borrowersthathad notbeencashed,som e m any m onthsold.

                                                II.

                              Summary of Operations of Receiver

A.      Employment of Professionals

        4.      Im m ediately following his appointm ent,it becam e necessary for the R eceiver to

em ploy B ryan C ave L L P (“BC”) as his counsel. T he R eceiver and B C have perform ed

substantial work adm inistering the R eceivershipEstate,pursuing claim s and assets of the estate,

and identifying investors inthe D efendants. T he R eceiver and B C ’s efforts are sum m arized

m ore fully below.




Receiver’s Status Report                        2
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 3 of 26 PageID #: 8293




        5.      A s the R eceivership progressed,it becam e necessary for the R eceiver to hire an

accountanttoassistwithday-to-day accounting needs. A ccordingly,withthe C ourt’s approval,

the R eceiver hired G reg T . M urray,C PA (“Murray”)as anaccountant for the R eceiver. See

O rder G ranting U nopposed A pplicationtoEm ploy G reg T .M urray as A ccountantfor R eceiver

[D k t.N o.45]. M r.M urray and hisstaff have spentseveral hundred hours onvarioustaxm atters,

reconciling bank statem ents,assisting with forensic exam ination of records,reviewing and

reconciling claim s,and m aintaining accounts and other accounting issues. See, e.g., A m ended

First Inte rim A pplicationto A llow and Pay Professional Fees to G reg T . M urray,PL L C [D k t.

N o.138].

        6.      A t the request of the Stewardship R eceivership C laim ants A ssociation (the

“Association”),the R eceiver retained W ingspan Portfolio A dvisors,L L C (“Wingspan”) to

analyz e the R eceivershipA ssets todeterm ine the bestcourse of actionincluding,butnotlim ited

to,whether it is inthe best interest of the Estate to sell the assets im m ediately or service the

assets for a period of tim e and thensell them . B ased onits independent assessm ent,W ingspan

determ ined that it was inthe best interest of the Estate to im m ediately sell the R eceivership

A ssets. A s described below inm ore detail,the R eceiverfiled a m otiontosell the assets,which

was delayed by the obj
                     ectionof the A ssociation. T he R eceiverhas now filed anotherm otionto

sell the rem aining assets inthe Estate. See M otionfor A uthority to Sell or A bandonR eal and

Personal Property and A pprove SalesProcedures [D k t.N o.349].

        7.      T he R eceiver has also engaged Jeffre y G oldfarb as contingency fee counsel to

analyz e and evaluate certainpotential causes of actionbelonging tothe R eceivershipEstate. See

N otice of A ppearance of A dditional C ounsel [D k t. N o. 87]. M r. G oldfarb has successfully

settled potential litigation claim s against several third-parties,including the M C S Parties




Receiver’s Status Report                        3
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 4 of 26 PageID #: 8294




resulting ina paym ent to the Estate of over $1.3m illion,A m ericanM utual,L L C resulting ina

paym ent of $50,
               000 to the Estate,the H SP Entities resulting ina paym ent of $550,
                                                                                 000 to the

Estate,and the Finch& B arry G roup(eachof whichisdescribed below).

        8.      T he R eceiverhas alsoengaged A ndrew W hitak erwithFigariand D avenport,L L P

toinvestigate potential causes of actionagainstm ultiple escrow com panies thatwork ed withthe

D efendants. M r.W hitak ersuccessfully assisted the R eceivertosettle potential litigationclaim s

againsttwoescrow and title com panies(described inm ore detail below).

        9.      T he R eceiver has also retained L ogos D ata Services (“Logos”)to m aintainand

restore data from the D efendants’ server. L ogos m aintained and preserved the D efendants’

electronic inform ation. B ecause the R eceiver believes that the data m aintained by L ogos is no

longer current enough to be useful to the adm inistration of the Estate,the R eceive r has

coordinated withL ogos toperm anently preserve suchinform ationwithoutthe need forongoing

m aintenance and the associated m onthly expense. A ll historic data m aintained by L ogos has

beentransferred onto anexternal hard drive that is being stored by a third-party vendor ina

secure vault.

B.      Identity, Location, And Value Of Receivership Assets And Liabilities Pertaining
        Thereto.

        10.     A s partof his duties,the R eceiveris task ed withidentifying,locating,and valuing

R eceivership Estate assets and executing onthose assets for the benefit of the estate. T he

R eceiver’seffortstoidentify and liquidate Estate assetsare sum m arized below.

        (i)     Interest in P38

        11.     T hrough his investigation,the R eceiver identified an entity k nown as P38

H oldings,L L C (“P38”),the original ownership of whichwas held 10% by W ingspanPortfolio

A dvisors,L L C ;45% by C harles A . V ose III (“Vose”);and 45% by T R EI II H oldings,L L C



Receiver’s Status Report                        4
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 5 of 26 PageID #: 8295




(“TREI II”). T he R eceiver further identified T R EI II as an entity directly or indire ctly

controlled by D efendants and,as such,a partof the R eceivershipEstate. T he D efendants did not

inform the R eceiverof thistransferorthe existence of the assetsowned by P38.

        12.     O noraboutA ugust17,2011,T R EI II agreed totransferits 45% interestinP38to

V ose (the “P38 Transfer”). Inconsiderationforthe P38T ransfer,T R EI II received from V ose a

5% interestinStewardshipM anagem ent,L P,whichwas held by anotherentity owned by V ose ,

SouthwestFederationN orthT exas,L P.

        13.     T he R eceiverdoesnotbelieve thatthe P38T ransferwas forreasonably equivalent

value and,therefore,believes that the P38T ransfer is anasset of the R eceivership Estate. T he

R eceiver,thus,contacted V ose and reached a settlem ent whereby V ose agreed to assignhis

interestinthe P38T ransfertothe R eceiver;relinquishthe 5% partnershipinterestinStewardship

M anagem ent,L P thatwas transferred toT R EI II;and relinquishtothe R eceiverthe $5,
                                                                                    264.71in

distributionsreceived from P38[D k t.N o.69].

        14.     T hroughoutthe case,the Estate received periodic sm all distributions arising from

the Estate’s interest inP38. Inaneffort to wind-downthe adm inistrationof this case and

liquidate the Estate’s rem aining assets,the R eceiver endeavored to sell the Estate’s interest in

P38 and filed a m otionwith the C ourt [D k t. N o. 374]. A s part of those efforts,the R eceiver

contacted the m em bers of P38tosolicitoffers.C had V ose,a 45% interestholder,m ade a written

offertoacquire the Estate’s 45% interestinP38for$1,
                                                  000.A lthoughthe R eceiverbelieved that

$1,
  000 was a fair price based onthe few rem aining assets of P38,the R eceiver proposes to

auctionthe Estate'sinterestinP38and used the $1,
                                               000offerfrom V ose asaninitial bid.

        15.     O nA ugust21,2015,the R eceiverheld anauctionforthe Estate's interestinP38.

T he R eceiver did not receive any other bids except the initial bid from V ose. O nA ugust 21,




Receiver’s Status Report                         5
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 6 of 26 PageID #: 8296




2015,the R eceiverfiled a N otice of Sale [D k t.N o.282] withthe C ourtand the Estate's interest

inP38wassold toV ose for$1,
                          000.

        (ii)    The Substitute Assets

        16.     T he R eceiver located m ore than130 Substitute A ssets that he has recovered for

the benefit of the Estate. T he Substitute A ssets were acquired through a settlem ent with

StewardshipFund N o.2,L .P.,StewardshipFund N o.3,L .P.,StewardshipFund N o.4,L .P.and

Stewardship Fund N o. 5,L .P (collectively,the “Mt. Vernon Entities”). T he R eceivership

Estate owned a forty percent (40% )lim ited partnership interest ineach of the M t. V ernon

Entities. T he M t.V ernonEntities acquired assets from one orm ore of the D efendants througha

series of A ssetD ispositionA greem ents thatlistcertainm ortgages thatwere tobe purchased on

behalf of the lim ited partnerships. H owever,certainassets described inthe A sset D isposition

A greem ents were not identified inthe original lim ited partnership agreem ents (the “Substitute

Assets”). A s such,the R eceiver contended that the Estate m ay have a claim totak e title tothe

Substitute A ssets by virtue of a fraudulentconveyance claim . T he M t.V ernonEntities disagre ed

and asserted thatthe y were entitled toownership. B ased onthe R eceiver’s potential claim tothe

Substitute A ssets,the M t. V ernonEntities entered into a settlem ent whereby the Estate was

granted a 40% profits interestinthe Substitute A ssets inexchange for the M t.V ernonEntities’

continued efforts topreserve the value of the Substitute A ssets. See O rder G ranting R eceiver’s

Em ergency M otiontoA pprove A ssetD ispositionA greem ent[D k t.N o.63].

        17.     T he Substitute A ssets have beenfully liquidated and the Estate has received its

40% profitsinterestinthe Substitute A ssetsfrom the M t.V ernonEntities.

        (iii)   Assets Received from the Boyce Parties

        18.     T hroughhisinvestigation,the R eceiverlearned thatin2011,R obertand Elizabeth




Receiver’s Status Report                        6
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 7 of 26 PageID #: 8297




B oyce and ER ,L L C (collectively the “Boyce Parties”)advanced $1.3m illiontoone orm ore of

the D efendants. Inreturn,the B oyce Parties received $250,
                                                          000 incash,oil and gas leases of

undeterm ined value,and 71properties (m ostly R EO ). InD ecem ber of 2011,the B oyce Parties

sold 53 of the properties for net proceeds of approxim ately $650,
                                                                 000,leaving 18 properties in

their possession (the R eceiver believes that the properties have a value of approxim ately

$50,
   000).

        19.     T he R eceiverbelieved thatthe Estate had claim s againstthe B oyce Parties arising

out of their transactions with the D efendants. A ccordingly,the R eceiver contacted the B oyce

Parties and reached a settlem entwhereby the B oyce Parties agreed totransfertothe R eceive rthe

18 properties acquired from D efendants,transfer to the R eceiver oil and gas leases and the

associated overriding royalty interests,and pay the R eceiver$50,
                                                                000[D k t.N os.80and 95]. T he

R eceiver has received the deeds tothe R EO properties,a $25,
                                                            000paym ent,and the oil and gas

leases.T he 18properties are currently being m ark eted forsale by B arrier.

        20.     T he oil and gas leases were m ark eted forsale by Sim plex. D espite m ark eting the

oil and gas leases forseveral m onths,Sim plexwas unable toprocure a buyerforthe leases. A s a

result,the R eceiver filed,and the C ourt granted,a m otion to allow Sim plex to continue

attem pting tom ark etthe oil and gas leases ortoabandonthem [D k t.N o.284]. O nFebruary 27,

2014,the R eceiver held a public auctionof the oil and gas leases onthe courthouse steps. T he

auctionwas publicly advertised onthe R eceivership website and inthe D allas M orning N ews,

H ouston C hronicle,and A m arillo G lobe-N ews. D espite the widespread publication of the

auction,there were nobidders. T he R eceiverrem ains willing accepting offers forthe oil and gas

leases and has provided inform ationtopotential buyers. H owever,the term of m any,if notall,




Receiver’s Status Report                          7
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 8 of 26 PageID #: 8298




of the oil and gas leases has term inated and the rem ainderwill term inate inthe nearfuture. A s a

result,the R eceiverdoes notanticipate receiving offersonthe oil and gasleases.

        (iv)    Assets Received from the Harbour and Cavco Entities

        21.     T hrough his investigation,the R eceiver determ ined that inJuly 2008,H arbour

Portfolio I,L L C (“Harbour I”)and H arbour Portfolio II,L L C (“Harbour II”)attem pted to

purchase from D efendants 221and 172distressed real estate m ortgages and corresponding notes

for $2,
      032,
         395.69 and $1,
                      321,
                         103.80 respectively. A s part of the transaction,each of the

m ortgages should have been assigned to H arbour I and H arbour II (and the assignm ents

recorded)and anallonge should have beenexecuted foreachnote indicating thatH arbour I and

H arbourII were the new holders of the notes. A lthoughthe transactions closed in2008,few,if

any,of the m ortgage assignm ents or allonges were ever executed or recorded. A s a result,the

R eceiver claim ed aninterest inthe rem aining m ortgages and notes owned by H arbour I and

H arbourII.

        22.     Sim ilarly,inFebruary 2010,H arbour Portfolio IV (“Harbour IV”)attem pted to

purchase 199 distressed real estate m ortgages and corresponding notes for a purchase price of

$645,
    000 and from M arch 2009 to June 2010,C avco H oldings,L L C (“Cavco”)attem pted to

purchase 203distressed real estate m ortgages and corresponding notes fora total purchase price

of approxim ately $917,
                      000. A s withH arbourI and H arbourII,H arbourIV and C avcofailed to

properly assignand transfer the m ortgages and notes. A s a result,the R eceiver claim ed an

interestinthe m ortgages and notesowned by H arbourIV and C avco.

        23.     B ased onthe R eceiver’s potential claim s,H arbourI,H arbourII,H arbourIV ,and

C avcoentered intosettlem entagreem ents withthe R eceiver[D k t.N o.79]. U nderthe settlem ent

agreem ents,H arbour I agreed to transfer its interest ineighty (80)m ortgages and notes to the




Receiver’s Status Report                        8
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 9 of 26 PageID #: 8299




R eceivershipEstate;H arbourII agreed totransferits interestinthirty seven(37)m ortgages and

notes tothe R eceivershipEstate;H arbourIV and the R eceiveragreed todivide the netproceeds

from sale of H arbour IV ’s assets 40% to the R eceivership Estate and 60% to H arbour IV ;and

C avcoand the R eceiveragreed todivide the netproceeds from sale of C avco’s assets 40% tothe

R eceivershipEstate and 60% toC avco.

        24.     B ased onthe R eceiver’s settlem ents withC avco and H arbour IV ,the Estate has

received inexcess of $14,
                        000 from H arbour IV and inexcess of $30,
                                                                000 from C avco. T he

R eceiveranticipatesreceiving additional funds,however,the am ountwill likely be de minimis.

        25.     T he settlem ents with H arbour I and H arbour II resulted inthe Estate acquiring

over100m ortgages,notes,and R EO properties,whichthe R eceiverlisted forsale. A s described

inSection(iv),the L ak eside A ssets ultim ately resulted ina paym ent of $450,
                                                                              000to the Estate.

A s a result,the settlem ents with H arbour Entities will result ina recovery of approxim ately

$500,
    000forthe Estate

        26.     T hroughout the case,the Estate received distributions from C avco whenassets

were sold. H owever,as of June 2015,C avcoowned 10assetsthatithad notbeenable tosell. In

anefforttowind-downthe adm inistrationof this case and liquidate the Estate’srem aining assets,

the R eceiverendeavored tosell the Estate’s profits interestinC avcoand filed a m otionwiththe

C ourt [D k t. N o. 374]. A s part of his efforts to sell the Estate's interest inC avco,the R eceive r

contacted C avcotosolicitanoffer.C avcohas m ade a writtenoffer toacquire the Estate’s 40%

profits interest for $1,
                       500. A lthough the R eceiver believed that $1,
                                                                    500 was a fair price,the

R eceiverproposes toauctionthe Estate's interestinC avcoand used the $1,
                                                                       500offeras aninitial

bid.




Receiver’s Status Report                          9
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 10 of 26 PageID #: 8300




         27.      O nA ugust 21,2015,the R eceiver held anauctionfor the Estate's interest in

 C avco. T he R eceiverdid notreceive any otherbids exceptthe initial bid. O nA ugust21,2015,

 the R eceiver filed a N otice of Sale [D k t.N o.282] withthe C ourt and the Estate's interest was

 sold toC avcofor$1,
                   500.

         (iv)     The Lakeside Assets

         28.      T he assets received from settlem ents with the H arbour and C avco entities were

 m ark eted for sale through H alo C om panies,Inc. (“Halo”). InA ugust 2012,H alo assisted the

 R eceiver inidentifying a potential buyer (L ak eside Portfolio M anagem ent,L L C )for the assets

 received from H arbour and C avco (referred to as the “Lakeside Assets”)for $195,
                                                                                 000. T he

 R eceiver,therefore,filed a m otionrequesting that the C ourt authorize the sale to L ak eside,

 subj
    ecttopublic m ark eting and a public auction(the “Lakeside Sales Motion”).

         29.      T he A ssociationobj
                                     ected to the sale of the L ak eside A ssets (which were non-

 perform ing m ortgages),alleging that the assets were m ore valuable if they were held by the

 R eceiverand sold ata laterdate as perform ing m ortgages.1 T he A ssociationalsorequested that

 the R eceiver retain W ingspan to evaluate whether it was in the Estate’s best interest to

 im m ediately sell the L ak eside A ssets or hold them for sale later. T he R eceiver paid W ingspan

 $75,
    000 to evaluate the L ak eside A ssets. W ingspanconcluded that it was inthe Estate’s best

 interest to im m ediately sell the L ak eside A ssets and concluded that the sales price of $195,
                                                                                                 000

 wasa fairprice.

         30.      B efore the sale to L ak eside was approved by the C ourt,onN ovem ber 27,2012,

 the R eceiver received a non-binding letter of intent from H P D ebt Exchange,L L C (“HP”)to

 purchase the L ak eside A ssets for$250,
                                        000(the “Letter of Intent”). T he R eceivercontacted H P

 1
  O therinvestorsobj  ected tothe L ak e side SalesM otion. H owe ver,all obj
                                                                            ections were resolved exceptthe obj
                                                                                                              ection
 of the A ssociation.



 Receiver’s Status Report                               10
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 11 of 26 PageID #: 8301




 tofacilitate a sale atthe higherprice. U nbek nownsttothe R eceiver,afterH P offered topurchase

 the L ak eside A ssets from the Estate,itfraudulently purported tosell the L ak eside A ssets toM ark

 T orok and related entities for$450,
                                    000. T he $450,
                                                  000price was based onfalse representations

 by H P and its principal,C hris G anter,regarding the quality and nature of the L ak eside A ssets. It

 was those m isrepresentations that garnered anoffer of $450,
                                                            000 for the L ak eside A ssets. T he

 R eceiver continued to receive offers to purchase the L ak eside A ssets,but (other thanH P)no

 offerwas greaterthanthe $195,
                             000originally offered by L ak eside.

         31.     U ponlearning aboutthe fraudulentsale,the R eceiverfiled a m otionforcontem pt

 against H P and sought disgorgem ent of the $450,
                                                 000paid by T orok . T he m otionwas granted

 and H P was ordered to disgorge the $450,
                                         000 it received from T orok into the C ourt registry.

 T he C ourtsubsequently disbursed the $450,
                                           000thatwasdisgorged from H P tothe Estate.

         (vi)    The Lake House

         32.     T hrough his investigation,the R eceiver located a lak e house inB onham ,T exas

 titled inthe nam e of M r.and M rs.T em m e. A s withother assets of the Estate,M r.T em m e did

 not voluntarily disclose the existence of the lak e house. W henthe R eceiver inquired as to the

 current ownership of the lak e house,the T em m es alleged that it had beensold prior to the

 R eceivershipand produced a partially handwrittensales contract. O ninform ationand belief,the

 sales contract was fraudulent and,as a result,onO ctober 1,2013,the R eceiver filed and the

 C ourt granted a M otionfor A uthority to(i)A ssignL ease;(ii)Sell R eal Property;(iii)A pprove

 Sales Procedures;(iv)Enter into L isting A greem ent and R equest for Service by Publication

 [D ock et N o. 273]. A s a result,the R eceiver retained a real estate brok er,who listed the lak e

 house forsale for$125,
                      000. T he R eceiverreceived three offers topurchase the lak e house,and




 Receiver’s Status Report                         11
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 12 of 26 PageID #: 8302




 accepted the highest all-cashoffer of $126,
                                           000. T he sale of the lak e house resulted ina cash

                000forthe Estate.2
 gainof over$105,

         (vii)    Anglers and Hunters, Inc.

         33.      T hroughhis investigation,the R eceiverdeterm ined thatthe Estate has aninterest

 inA ngle r and H unters,Inc.,a now defunct entity owned or controlled by T em m e. A lthough

 A ngle rs and H unters,Inc.is nolonger operating,the R eceiver identified a bank accountowned

 by A nglers and H unters thatcontained $19,
                                           988.36. T he R eceiver has acquired the funds inthe

 accountand closed the account.

         (viii) Other Assets of Defendants

         34.      T hrough his investigation,the R eceiver located a personal retirem ent account

 owned by T em m e. T he R eceiver filed a m otiontoliquidate the account,whichwas granted by

 the C ourt [D ock et N o. 165]. A s a result,the R eceiver received a paym ent of $64,
                                                                                      983.36

 representing the contents of the retirem ent account. T hat am ount,however,was $15,
                                                                                    000 less

 thanthe R eceiver anticipated based upon financial statem ents inthe R eceiver’s possession.

 U pon written dem and,T em m e returned $15,
                                            000 that was previously withdrawn from the

 retirem entaccountwithoutauthorization.

 C.      Litigation Claims and Settlements

         (i)      Mt. Vernon Entities Settlement

         35.      A s described m ore fully inSectionB (ii),the R eceiver entered into anA sset

 D ispositionA greem ent withthe M t.V ernonEntities that resulted inthe Estate tak ing a profits




 2
  T he salesproceedsof $125,  000were used topay costsassociated withthe sale of the lak e house,including a 6%
 salescom m issiontothe real e state age ntand paying off of anapproxim ately $8,
                                                                                000loansecured by the lak e house.



 Receiver’s Status Report                               12
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 13 of 26 PageID #: 8303




 interest in130 Substitute A ssets.3 T he Substitute A ssets were purportedly owned by the M t.

 V ernonEntities based ona series of A sset D ispositionA greem ent withthe D efendants prior to

 the R eceivership. B ecause,the Substitute A ssets were not identified inthe original lim ited

 partnership agreem ents,the R eceiver contends that the Estate m ay have a claim to tak e title to

 the Substitute A ssets by virtue of a fraudulentconveyance claim . Inordertoavoid litigating the

 ownership of the Substitute A ssets,the M t.V ernonEntities agreed toprovide the Estate a 40%

 profitsinterestinthe Substitute A ssetsinexchange forthe M t.V ernonEntities’ continued e fforts

 to prese rve the value of the Substitute A ssets. See O rder G ranting R eceiver’s Em ergency

 M otiontoA pprove A ssetD ispositionA greem ent[D k t.N o.63]

         36.     T he Substitute A ssets have beenfully liquidated and the Estate has received its

 40% profitsinterestinthe Substitute A ssetsfrom the M t.V ernonEntities.

         (ii)    Harbour and Cavco Settlements

         37.     A s described m ore fully inSectionB (iv),the R eceiver entered into a Settlem ent

 A greem entwiththe fourH arbourand C avcoentities. Priortothe R eceivership,the H arbourand

 C avco entities attem pted to purchase several pack ages of distressed real estate m ortgages and

 prom issory notesfrom the D efendants. A s partof hisinvestigation,the R eceiverdeterm ined that

 the transfers of ownershipof the m ortgages and notes were im properly docum ented. A s a result,

 the R eceiverclaim ed aninterestinthe m ortgages and notes and threatened litigationagainstthe

 H arbourand C avcoentities.

         38.     B ased onthe R eceiver’s potential claim s,the H arbourand C avcoentities entered

 intosettlem entagreem entswiththe R eceiver[D k t.N o.79]inwhichthe Estate received over100

 m ortgages and notes (later sold as the L ak eside A ssets)and a 40% profits interest inseveral

 3
   T he M t.V ernonEntitiesinclude Ste wardshipFund N o.2,L .P.,Ste wardshipFund N o.3,L .P.,StewardshipFund
 N o.4,L .P.and StewardshipFund N o.5,L .P.



 Receiver’s Status Report                             13
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 14 of 26 PageID #: 8304




 hundred other m ortgages and notes. T he dispositionof the L ak eside A ssets will result ina

 paym ent of $450,
                 000 to the Estate. T he 40% profits interest inthe other assets owned by the

 H arbourand C avcoentitieshasresulted inpaym entstothe Estate totaling nearly $45,
                                                                                  000.

         39.     A tthis tim e,the R eceiverhas liquidated all of the Estate's interestinH arbourand

 C avcoand all disputeswiththe H arbourand C avcohave beenresolved and settled.

         (iii)   Boyce Settlement

         40.     A s described m ore fully inSectionB (iii),the R eceiver entered into a Settlem ent

 A greem ent with the B oyce Entities. Prior to the R eceivership,the B oyce Parties entered into

 several agreem ents withthe D efendants to acquire m ortgages and prom issory notes. B ased on

 the failure toproperly docum ents suchtransaction,the R eceiveralleged claim s againstthe B oyce

 Parties and sought to recover the assets the y acquired from the D efendants. Inorder to avoid

 litigating the ownershipof assets acquired from the D efendants,the B oyce Parties entered intoa

 settlem entagreem entwiththe R eceiverinwhichthe Estate received 18R EO properties,ce rtain

 oil and gas leases and the associated overriding royalty interests,and a $50,
                                                                             000paym ent [D k t.

 N os.80and 95].

         41.     A tthistim e,all disputeswiththe B oyce Entitieshave beenresolved and settled.

         (iv)    MCS Settlement

         42.     B ased onthis investigation,the R eceiver discovered that,despite m assive losses

 onother ventures,certainentities associated with M C Sm ith R ealty,L L C — M C S Sm all C ap

 Fund I,L P,M C S Stewardship N o. 2 Invest,L P,and M C S Stewardship N o. 3 Invest,L P

 (collectively,the “MCS Parties”)— realized “net profits”that total about $3m illionfrom their

 dealings with the D efendants. Inorder to efficiently investigate potential claim s against the

 M C S Parties,and potential defenses to such claim s,the R eceiver retained Jeff G oldfarb as

 contingency fee counsel. See SectionA . A fter extensive discovery by M r. G oldfarb and the


 Receiver’s Status Report                        14
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 15 of 26 PageID #: 8305




 R eceiver,as well as extensive negotiations with counsel for the M C S Parties,the R eceiver

 determ ined thatitwas inthe bestinterestof the Estate toenterintoa C om prom ise & Settlem ent

 A greem ent to resolve the claim s against the M C S Parties. U nder the Settlem ent,the M C S

 Partiesm ade a paym entof $1,  000tothe R eceiverforthe benefitof the Estate.4
                             335,

         43.      A tthistim e,all disputeswiththe M C S Partieshave beenresolved and settled.

         (v)      Bristlewood Claim Settlement

         44.      T he B ristlewood C laim ants5 representseveral of the m ostsignificantinvestors in

 the D efendants. T he B ristlewood C laim ants have subm itted proofs of claim and a full cash

 accounting tothe R eceiverdem onstrating netlosses from theirinvestm ents withthe D efendants

 inthe am ountof $9,
                   137,
                      715.75. See A greed M otiontoA pprove C laim D eterm ination[D k t.N o.

 155]. T he B ristlewood C laim ants’ claim s however,are com plicated by the factthatone orm ore

 of the D e fendants acted as the general partner for som e of the B ristlewood C laim ants and

 continue toowna 40% profits interestinsom e of the B ristlewood C laim ants. Inordertoavoid

 the cost of litigating the am ountof the claim againstthe Estate,the B ristlewood C laim ants and

 the R eceiver entered into a C laim Stipulation and A greem ent in which the B ristlewood

 C laim ants agree to accept a claim am ount of $7,
                                                  619,
                                                     116.21 (a reductionof $1,
                                                                             518,
                                                                                599.54).

 A dditionally,the R eceivershipEstate will continue tohave a 40% profits interestinsom e of the

 B ristlewood C laim ants.       In the R eceiver’s j
                                                    udgm ent,the settlem ent reflects the highest



 4 T he R eceiverpaid professional fees and expenses tothe law firm of G oldfarb L L P pursuanttothe C ourt-approved
 retentionagree m entinthe total am ountof $333, 750.00(or25% of the $1,   335, 000.00settle m e ntpaym e ntplus $210
 inexpe nse s).

 5
   T he B ristle wood C laim ants include B ristle wood,L P,Ste wardship Fund N o.2,L P,Ste wardship Fund N o.3,L P,
 Ste wardship Fund N o.4,L P,Ste wardship Fund N o.5,L P,Ste wardship Fund N o.6,L P,Ste wardship Fund N o.7,
 L P,C anadian Peso 21,K lipspringer Partners L P,K ennywood Partners,L td.,J. C hristopher D ance,L eslie T .
 M errick Inve stm entT rust,T he K enny A lle nT routtD escendantsT rust,C anadianPeso25,and C anadianPeso27.



 Receiver’s Status Report                                15
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 16 of 26 PageID #: 8306




 conceivable offset that the Estate could have obtained and m aintains anasset of the Estate

 withoutthe expense of litigation.

           (vi)    Graves Settlement

           45.     T he G raves Parties6 entered into a series of transactions with the D efendants

 before the R eceivership. B ased onhis investigation,the R eceiverdeterm ined thatcertainof the

 G raves Parties were “netwinners”intheirtransactions withthe D efendants and,therefore,filed

 a m otiontoshow cause againstthe G raves Parties [D k t.N o.170]. Inresponse tothe m otionto

 show cause,the G raves Parties entered intonegotiations withthe R eceiverand dem onstrated that

 each of the net winner entities was insolvent. Inorder to settle potential claim s betweenthe

 G raves Parties and the Estate without the expense of litigation,the R eceiver entered in a

 Settlem entA greem entwiththe G raves Parties inwhichthe G raves Parties waived theirinterest

 incertainEstate assets that the R eceiver was attem pting to sell and provided the Estate with

 m ortgages and prom issory notes received from the D efendants. T he R eceiverthenentered intoa

 settlem entwithA m ericanM utual regarding the m ortgagesand prom issory notes.

           46.     A tthistim e,all disputeswiththe G ravesPartieshave beenresolved and settled.

           (vii)   American Mutual Settlement

           47.     Priortothe R eceivershipA m ericanM utual,L P (“American Mutual”)attem pted

 topurchase 50m ortgages and prom issory notes from the D efendants for$508,
                                                                           676.61. A m erican

 M utual,however,did not receive assignm ents and allonges or the physical docum ents it

 purportedly purchased. A s a result,the R eceiverclaim ed thatthe Estate owned aninterestinthe

 assets.


 6
  T he G ravesPartiesinclude JEG Property Investm e nts,L .P.f/k /a B eracahV alle y Enterprises,L P;N G R oth
 Inve stm e nts,L L C ;JG R othInvestm e nts,L L C ;JG R oth,L L C ;H N G ESA ,L L C ;JD G ESA ,L L C ;SK G ESA ,L L C ;
 R EG ESA ,L L C ;JA G ESA ,L L C ;JohnG rave s;N icole G raves;and JEG Property Investm ents401k T rust.



 Receiver’s Status Report                                  16
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 17 of 26 PageID #: 8307




            48.      A fter extensive negotiations with A m ericanM utual,the R eceiver entered into a

 settlem ent and release agreem ent inwhich the Estate provided A m ericanM utual 40 of the 50

 assets itattem pted topurchase inexchange fora paym entof $50,
                                                              000tothe R eceivershipEstate

 and a waiverof any and all claim sagainstthe Estate.

            49.      A tthistim e,all disputeswithA m ericanM utual have beenresolved and settled.

            (viii) HSP Entities Settlement

            50.      W iththe assistance of contingency fee counsel Jeffre y G oldfarb (See SectionA ),

 the R eceiverhas alsoinvestigated potential causes of actionagainstthe H SP Entities7 (“HSP”).

 H SP paid $1.5m illiontocertainD efendants topurchase anassetpack age. T he assets,howeve r,

 were never delivered to H SP. Subsequently,H SP was paid $1.8 m illionfrom certainothe r

 D efendants,purportedly as reim bursem ent for the $1.5 m illionprior paym ent as well as other

 am ountsowing toH SP.

            51.      T he R eceiver prepared for litigationagainst the H SP Entities,but before filing

 suit,engaged inextensive settlem ent negotiations. B ased onthose negotiations,the R eceiver

 entered into a Settlem ent A greem ent to resolve claim s against the H SP Entities. U nder the

                                                     000paym enttothe Estate 8 inexchange for
 Settlem entA greem entthe H SP Entities m ade a $550,

 a release of all claim s against the H SP Entities. T he R eceiver filed a m otionto approve the

 settlem entagreem ent[D k t.N o281],whichreceived anobj
                                                       ectionfrom the Finch& B arry G roup




 7
   T he H SP Entities include H om e Solutions C apital,L L C ,H om e Solutions G P,L P,H om e Solutions A dvisors,L L C ,
 H om e Solutions Partners I,L P,H om e Solutions Partners I R EO ,L L C ,H om e Solutions Partners III,L P,H om e
 Solutions Partners III R EO ,L L C (“H SP III”),H om e Solutions Partners IV ,L P,H om e Solutions Partners IV R EO ,
 L L C (“H SP IV ”),H arbour Portfolio A dvisors,L L C ,H arbour Portfolio C apital,L L C ,H arbour Portfolio G P,L P,
 H arbourPortfolioV ,L L C (“H arbourV ”),and H arbourPortfolioV I,L P,and affiliate s,partners,and e m ployees.

 8
     C ontinge ncy fee counsel was paid $105,
                                            763.18from the settle m e ntproceeds.



 Receiver’s Status Report                                  17
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 18 of 26 PageID #: 8308




 (“F&B”).9 A lthough the C ourt ultim ately approved the settlem ent with the H SP Entities,the

 obj
   ectionby F& B significantly delayed approval of the settlem ent,as well as the receipt of

 paym entfrom the H SP Entities.10

          52.      A tthistim e,all disputeswiththe H SP Entitieshave beenresolved and settled.

          (ix)     Finch & Barry Settlement

          53.      F& B entered intoand funded transactions topurchase non-perform ing m ortgages

 and R EO properties from the D efendants in A pril 2011. A s part of the exchange,F& B

 transferred m ore than$3m illionto anaccount inthe nam e of “H om e Solutions Partners,L P.”

 A ccording to the R eceiver’s investigation,public records,and the other H SP Entities,H om e

 Solutions Partners,L P does not exist. T he R eceiver’s investigationhas revealed that F& B did

 notreceive any assets from D efendants and thatthe m one y from F& B was com ingled withother

 fundsof the Estate and,ultim ately,paid tothird parties.

          54.      O nO ctober 24,2013,F& B obj
                                              ected to the R eceiver’s settlem ent with the H SP

 Entities asserting at least $3,
                               139,
                                  667.20 in claim s against the Estate and the H SP Entities

 associated withthe transfers of its investm entfunds. See R esponse and O bj
                                                                            ectiontoM otionto

 A pprove Settlem ent with the H om e Solutions A ffiliates [D k t. N o. 289]. Inorder to resolve

 F& B ’s obj
           ections tothe settlem entwiththe H SP Entities and reduce F& B ’s claim ,the R eceive r

 engaged insettlem entnegotiations withF& B thatultim ately resulted ina Settlem entA greem ent.

 U nderthe Settlem entA greem ent,the R eceiverwill pay $100,
                                                            000from settlem entwiththe H SP

 Entities toF& B inexchange forF& B withdrawing its obj
                                                      ections tothe settlem entwiththe H SP

 9
   T he Finch& B arry G roupincludesaffiliated investm e nte ntitiesF& B N ote H olding,L L C ,M V B R ealty
 H oldings,L L C ,L FR ealty H oldings,L L C ,48thStreetH oldings,L L C ,M D A R ealty H oldings,L L C ,and their
 affiliate s.

 10
   T he paym e ntof the $550,
                            000wascontinge ntonC ourt-approval of the settle m e ntagree m e nt. T he R eceiverhas
 received the $550,000from the H SP Entities.



 Receiver’s Status Report                                 18
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 19 of 26 PageID #: 8309




 Entities and reducing its claim against the Estate to $2 m illionor less (a reductionof ove r $1

 m illion). Inshort,F& B will receive $100,
                                          000 from the H SP Entities and will waive over $1

 m illioninclaim sagainstthe Estate.

            55.      T he R eceiver filed a m otiontoapprove the F& B settlem entwiththe C ourt[D k t.

 N o.333],whichwas approved [D k t.N o.339]. The R eceiverhas received the $550,
                                                                               000paym ent

 from the H SP Entitiesand hasdisbursed the $100,
                                                000paym enttoF& B .

            56.      A tthistim e,all disputeswithF& B have beenresolved and settled.

            (x)      Halo Settlement

            57.      T he R eceiverhas alsoalleged claim s againstH aloC om panies,Inc.(“Halo”)and

 soughttoresolve those potential claim s throughsettlem entwithH alo. T he D efendants and H alo

 had a close business relationship prior to the R eceivership and,at one point,had entered into

 negotiations tom erge theircom panies. B ecause of this close business relationship,H aloand the

 D efendants entered into several form al and inform al business transaction,m any of whichwere

 inadequately docum ented or not docum ented at all. A s a result of the poor docum entationof

 transactions,the R eceiverhas determ ined thatany claim s againstH alowould need tobe proven

 withtestim ony from Jam es T em m e,whohas asserted his FifthA m endm entrights inthis m atter

 and refused to provide testim ony. B ased on the lack of com petent evidence,and othe r

 considerations detailed inthe R eply inSupport of M otionto A pprove Settlem ent A greem ent

 with H alo C om panies,Inc. [D k t. N o. 268],the R eceiver entered into a Settlem ent A greem ent

                                              00011 and waive all claim s againstthe Estate
 withH aloinwhichH alowill pay the Estate $250,

 [D k t.N o.244].




 11
      T he $250,
               000settlem e ntpaym entwill be m ade intwelve (12)equal m onthly installm e nts.



 Receiver’s Status Report                                  19
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 20 of 26 PageID #: 8310




          58.     T he proposed settlem ent withH alo was obj
                                                            ected to by two investors groups,the

 A ssociationand the B erg G roup.12 M agistrate Judge A m os L . M az z ant entered a R eport and

 R ecom m endationapproving the settlem ent agreem ent with H alo [D k t. N o 290],which was

 adopted by D istrict Judge R on C lark [D k t. N o. 341]. T he B erg G roup filed a M otion to

 R econsider,whichwasalsodenied by D istrictJudge R onC lark [D k t.N o.352].

          59.     D espite the denial of the M otionto R econsider,the B erg G roup continued to

 assert that it would appeal the order approving the settlem ent withH alo,evenpotentially after

 the conclusionof the case. A s a result,H alotook the positionthatthe settlem entagreem entwas

 not final and would notbeginm ak ing settlem entpaym ents until the C ourtentered a R ule 54(b)

 final j
       udgm ent regarding the settlem ent agreem ent. O nFebruary 25,2015,the R eceiver file a

 M otion for Entry of Judgm ent under R ule 54(b)[D k t. N o. 367] requesting that all orders

 approving settlem ent agreem ents,including the H alo settlem ent,be giventhe effect of a final

 j
 udgm ent. N o obj
                 ections to the R ule 54(b)m otionwere filed and,therefore,the order becam e

 final.

          60.     H alohas m ade several settlem entpaym ents. O nce the final settlem entpaym entis

 received,the Estate will have resolved and settled all disputeswithH alo.

          (xi)    Motion for Relief from Stay/Motion to Compel Discovery

          61.     Inadditiontoalleging potential lawsuits and negotiating settlem ents onbehalf of

 the Estate,the R eceiver has beenrequired to attend to other litigationagainst the Estate. For

 exam ple,the R eceiver successfully defended againsta requestfor relief from stay whichwould

 have allowed certaininvestors to pursue claim s against the D efendants [D k t. N o. 96]. If the

 m otion for relief from stay was successful,the R eceiver would have been required to

 12
    T he B erg G roup includes B ruce B erg,Stuart C artner,K evinD oyle,W alter H aydock ,Edward L eh,K evin
 M urphy,PhilipSchantz ,D A IS Partners,L P,SingerB ros.,L L C ,Sk eletonL ak e,L L C ,and W ildcatL ak e Partners.



 Receiver’s Status Report                               20
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 21 of 26 PageID #: 8311




 sim ultaneously defend those causes of action(inorder to preserve the Estate)while pursuing

 assetsof the Estate.

         62.     L ikewise,the R eceiver successfully defended against a m otion to com pel

 discovery from certaininvestors whichwould have required the R eceivertospend tens of hours

 responding to discovery requests and reviewing docum ents for the benefit of certaininvestors

 [D k t.N o.100].

         (xii)   Litigation against Escrow Companies

         63.     T he R eceiver,withthe assistance of outside counsel A ndrew W hitak er (see Sec.

 A ),has investigated potential lawsuits againsttwoescrow com panies thatconducted substantial

 business withthe D efendants,A m ericanEquity Funding,L P (“AEF”)and M adisonSettlem ent

 Services,L L C (“Madison”). B oth A EF and M adisonconducted substantial business with the

 D efendants,including perform ing escrow services,serving as a brok eronsales and acquisitions

 of assets,and distributing funds to the D efendants and investors. A EF and M adisonk ne w or

 should have k nownthat the D efendants’ conduct was fraudulent and reaped substantial profits

 from theirbusinesswiththe D efendants.

         64.        T he R eceiver has entered into settlem ent agreem ents with both A EF and

 M adison[D k t.N os.356,359],whichwere approved by the C ourt[D k t.N os.364,365]. U nder

 the settlem ent agreem ents,A EF will pay the Estate $100,
                                                          000intwo paym ents of $50,
                                                                                   000 and

                     000,infourinstallm ents.13
 M adisonwill pay $75,




 13
   A ll paym e ntsfrom M adisonhave beenreceived. T he firstpaym e ntof $50,
                                                                           000from A EFhasbeenreceived and
 the R eceiveranticipatesreceiving the final paym entof $50,
                                                           000inJuly 2016.



 Receiver’s Status Report                            21
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 22 of 26 PageID #: 8312




 D.      Interim Distribution

         65.     O nD ecem ber 30,2014,the R eceiver filed his M otionfor A pproval of Interim

 D istributionPlanand Entry of C laim s B arD ate (the “Interim Distribution Motion”) [D k t.N o.

 361],which was approved by the C ourt onFebruary 2,2015 [D k t. N o. 366]. T he Inte rim

 D istributionPlanprovides the date by which investors inthe D efendants m ust file a proof of

 claim inordertoparticipate ina distributionfrom the R eceivershipEstate (the “Bar Date”). T he

 B arD ate was M arch5,2015and notice of the B arD ate was posted onthe R eceivershipwebsite

 (www.stewardshipfundreceivership.com )onFebruary 3,2015.

         66.     Pursuanttothe R eceiver’s Interim D istributionM otionand the O rdergranting the

 Inte rim D istributionM otion[D k t. N o. 366],the R eceiver was perm itted to m ak e aninterim

 distributiontoall C laim ants withanA llowed C laim (all capitalized term s notdefined hereinare

 defined inaccordance withthe Interim D istributionM otion).

         67.     T he R eceiverreceived and reviewed 174C laim s,asfollows:

         T otal A m ountInvested by C laim ants             $52,
                                                               321,
                                                                  240.96

         D istributionsm ade priortoR eceivership           $9,
                                                              898,
                                                                 697.40

         T otal C laim sasSubm itted by C laim ants         $42,
                                                               514,
                                                                  092.06

         T otal A m ountO bj
                           ected toby R eceiver             $ 317,
                                                                 206.30

         T otal A greed R eductionsonC laim s               $9,
                                                              370,
                                                                 595.32

         Proposed Net Allowed Claim Amount                  $32,717,398.15




 Receiver’s Status Report                         22
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 23 of 26 PageID #: 8313




         68.      InJuly 2015,the interim distributionwas m ade to investors ona pro rata basis

 based onthe Proposed N et A llowed C laim A m ount and the A vailable Funds.14 T he interim

 distributionwas m ade from the A vailable Funds of the R eceiver,which was determ ined as

 follows:

         A vailable Funds                                               $1,
                                                                          439,
                                                                             000

         L essoutstanding adm inistrative costs                         $ 325,
                                                                             000

         L ess expected adm inistrative costs                           $    50,
                                                                               000

         M oney available fordistribution                               $1,
                                                                          064,
                                                                             000

         Percentage of available fundstobe distributed                           90%

         Interim Distribution (rounded)                                 $ 950,000

         69.      T he R eceiveranticipatesm ak ing a final distributioninlate 2016.

 E.      Trial Preparation

         70.      T rial inthis m atter was scheduled to beginonM arch 31,2014. T he SEC and

 counsel for D efendants anticipated a one week trial withthe R eceiver providing testim ony for

 several days. B ased onhis anticipated extensive testim ony,the R eceiver and his counsel spent

 substantial tim e preparing for trial,including m ore fully investigating certaininvestor claim s,

 reviewing physical and electronic evidence,and interviewing investors and other parties. O n

 February 25,2014,the C ourt indefinitely continued the trial setting so that the D efendants and

 the SEC cancontinue settlem ent negotiations [D k t. N o. 332]. T he R eceiver has,therefore,

 suspended histrial preparationwork ,whichwill reconvene inthe eventa trial date isset.


 14
   O nM arch22,2016,the R eceiverfiled a M otiontoR e -Issue C laim sD istributioncheck storeplace two(2)
 inve storclaim check s,whichwasgranted onA pril 18,2016. T he R eceiveracquired from the Estate accountantthe
 unsigned replace m e ntclaim check s. B efore the check scould be executed and provided tothe claim ants,the y were
 stolenfrom the R eceiver'slock ed office and cashed. T he R eceiverreported the stolenclaim check stothe D allas
 Police D epartm entand C hase B ank . C hase B ank hasagreed torefund the stole ncheck s.



 Receiver’s Status Report                                23
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 24 of 26 PageID #: 8314




 F.      Evidence Preservation

         71.     U ponhis appointm ent,the R eceiver took control of the prem ises,property and

 docum ents at the D efendants’ corporate offices at 2500 D allas Park way,Suite 230 Plano,T X

 75093 (the “Premises”). T he R eceiver and his team im m ediately took possession of the

 Prem isesand changed the lock swiththe aid of the landlord.

         72.     T he R eceiver rem oved all relevant paper docum ents from the Prem ises and

 secured pe rtinent hard drives,com puters,and servers to the offices of B ryanC ave L L P or its

 vendors. T he R eceiver has and will m ak e the D efendants’ records and inform ationand its

 com putersystem available tothe C om m ission.

 G.      Investor Relations

         73.     T he R eceiver and his team have fielded daily telephone calls and e-m ails from

 investors,hom eowners,and creditors of D efendants and have personally spok enwithdoz ens of

 investors,hom eowners,and creditors.

         74.     T he R eceiverestablished a website at//www.stewardshipfundreceivership.com in

 ordertoprovide inform ationtoand obtaininform ationfrom investorsof the D efendants.

         75.     Inadditionto the foregoing,the R eceiver and his counsel are engaged inother

 investigationand recovery efforts onwhich it would be prem ature to report or where public

 disclosure of the efforts would potentially adversely im pactthe prospectsof success.

         76.     T he R eceiverhas corresponded withhundreds of taxing and regulatory authorities

 that have provided notice of various efforts to im pact the underlying collateral and insom e

 instances property owned by the receivershipestates. T he resultof this correspondence inm any

 cases has beentoelim inate enforcem entefforts. Itis anticipated thatthis will resultinvalue to

 the receivershipestate.




 Receiver’s Status Report                         24
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 25 of 26 PageID #: 8315




 H.      Administration of the Estate

         77.     B ecause the R eceiver has,by-and-large,adm inistered the claim s process and

 liquidated the assets of the Estate,the R eceiver anticipates that the costs of adm inistrationwill

 significantly dim inish until the case is closed and,as indicated above,anticipates that

 adm inistrative costswill be lessthan$50,
                                         000toclose the case.

 L.      Operations of Defendants

         78.     T he D efendantsare nolongeroperating.

         79.     A ll inform ationstated above is based onthe k nowledge of the R eceiver at this

 pointintim e and laterdevelopm ents and discoveries m ay cause the inform ationreported he rein

 tobe outdated orincorrect.



 D ated:June 20,2016                          R espectfully Subm itted:


                                                             //s// Keith Miles Aurzada
                                                      K eithM ilesA urz ada,R eceiver

                                                      2200R ossA venue,Suite 3300
                                                      D allas,T exas 75201
                                                      T elephone:214.721.8041
                                                      Facsim ile:214.721.8100




 Receiver’s Status Report                        25
Case 4:11-cv-00655-ALM Document 400 Filed 06/20/16 Page 26 of 26 PageID #: 8316




                                 CERTIFICATE OF SERVICE

        I ce rtify that onJune 20,2016,a true and correct copy of the foregoing pleading was
 served via the C ourt’s C M /EC F system to all parties consenting to service through the sam e,
 including tothe following:

         D avid R eece
         U nited StatesSecuritiesand Exchange C om m ission
         B urnettPlaz a,Suite 1900
         801C herry Street,U nit18
         FortW orth,T exas76102

         JohnH elm s,Jr.
         Fitz patrick H agood Sm ith& U hl L L P
         C hateau Plaz a,Suite 1400
         2515M cK inne y A venue
         D allas,T X 75201
         C O U N SEL FO R JA M ES G .T EM M E

         M oreover,the foregoing will be uploaded towww.stewardshipfundreceivership.com


                                                               //s//K eithM ilesA urz ada
                                                        K eithM ilesA urz ada,R eceiver




 Receiver’s Status Report                          26
